Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 1 of 15




                                                                                   es
                                                                                  iv
                                                                                ch
                                                                             Ar
                                                                           by


                                                                                       8
                                                                                  01
                                                                         d
                                                                      ze


                                                                                   2
                                                                                7/
                                                                     iti

                                                                             /1
                                                                    ig

                                                                           08
                                                                D




                                                     EXH. Q - UNHCR SYRIA 1
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 2 of 15
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 3 of 15




                                                                            s
                                                                         ve
                                                                       hi
                                                                       c
                                                                    Ar
                                                                  by

                                                                           18
                                                                d

                                                                         20
                                                             ze

                                                                       7/
                                                            iti

                                                                    /1
                                                         ig

                                                                  08
                                                        D




                                           EXH. Q - UNHCR SYRIA 3
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 4 of 15




                                                                              es
                                                                          iv
                                                                       ch
                                                                     Ar
                                                                    by

                                                                              18
                                                                d

                                                                          20
                                                              ze

                                                                         7/
                                                             iti

                                                                     /1
                                                           ig

                                                                    08
                                                          D




                                             EXH. Q - UNHCR SYRIA 4
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 5 of 15




                                                                            s
                                                                         ve
                                                                       hi
                                                                       c
                                                                    Ar
                                                                  by

                                                                           18
                                                                d

                                                                         20
                                                             ze

                                                                       7/
                                                            iti

                                                                    /1
                                                         ig

                                                                  08
                                                        D




                                           EXH. Q - UNHCR SYRIA 5
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 6 of 15




                                                                           se
                                                                         iv
                                                                      ch
                                                                    Ar
                                                                  by


                                                                           8
                                                                           01
                                                               d
                                                             ze


                                                                         /2
                                                                    17
                                                            iti
                                                         ig


                                                                     /
                                                                  08
                                                        D




                                           EXH. Q - UNHCR SYRIA 6
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 7 of 15




                                                                              s
                                                                             ve
                                                                          chi
                                                                       Ar
                                                                      by

                                                                              18
                                                                ed


                                                                             20
                                                                  z

                                                                           7/
                                                              iti

                                                                        /1
                                                           ig

                                                                      08
                                                         D




                                            EXH. Q - UNHCR SYRIA 7
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 8 of 15




                                                                             es
                                                                         iv
                                                                        ch
                                                                    Ar
                                                                   by

                                                                             18
                                                               d

                                                                         20
                                                              ze

                                                                        7/
                                                             iti

                                                                    /1
                                                          ig

                                                                   08
                                                         D




                                            EXH. Q - UNHCR SYRIA 8
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 9 of 15




                                                                                       es
                                                                                    iv
                                                                                  ch
                                                                               Ar
                                                                     by

                                                                            18
                                                               ed


                                                                         20
                                                                 z

                                                                      7/
                                                             iti

                                                                      /1
                                                          ig

                                                                     08
                                                        D




                                           EXH. Q - UNHCR SYRIA 9
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 10 of 15




                                                                              s
                                                                           ve
                                                                         hi
                                                                         c
                                                                      Ar
                                                                    by

                                                                             18
                                                                  d

                                                                           20
                                                               ze

                                                                         7/
                                                              iti

                                                                      /1
                                                           ig

                                                                    08
                                                          D




                                           EXH. Q - UNHCR SYRIA 10
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 11 of 15




                                                                             s
                                                                          ve
                                                                        hi
                                                                        c
                                                                     Ar
                                                                   by

                                                                            18
                                                                 d

                                                                          20
                                                              ze

                                                                        7/
                                                             iti

                                                                     /1
                                                          ig

                                                                   08
                                                         D




                                          EXH. Q - UNHCR SYRIA 11
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 12 of 15




                                                                              es
                                                                          iv
                                                                       ch
                                                                     Ar
                                                                    by

                                                                              18
                                                                d

                                                                          20
                                                               ze

                                                                         7/
                                                              iti

                                                                     /1
                                                           ig

                                                                    08
                                                          D




                                            EXH. Q - UNHCR SYRIA 12
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 13 of 15




                                                                                es
                                                                            iv
                                                                           ch
                                                                       Ar
                                                                      by

                                                                                18
                                                                 ed


                                                                            20
                                                                  z

                                                                           7/
                                                              iti

                                                                       /1
                                                           ig

                                                                      08
                                                          D




                                            EXH. Q - UNHCR SYRIA 13
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 14 of 15




                                                                           s
                                                                          ve
                                                                      hi
                                                                      c
                                                                   Ar
                                                                 by


                                                                           8
                                                                          01
                                                               d
                                                            ze


                                                                      /2
                                                                      7
                                                           iti

                                                                   /1
                                                          ig

                                                                 08
                                                         D




                                          EXH. Q - UNHCR SYRIA 14
Case 2:18-mj-00152-EFB Document 142-9 Filed 05/14/19 Page 15 of 15




                                                                           s
                                                                          ve
                                                                      hi
                                                                      c
                                                                   Ar
                                                                 by


                                                                           8
                                                                          01
                                                               d
                                                            ze


                                                                      /2
                                                                      7
                                                           iti

                                                                   /1
                                                          ig

                                                                 08
                                                         D




                                          EXH. Q - UNHCR SYRIA 15
